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Attorney for Plaintiff Federal Trade Commission




                           UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                   PORTLAND DIVISION

FEDERAL TRADE COMMISSION,                             Case No.: 3:24-cv-00347-AN
STATE OF ARIZONA,
STATE OF CALIFORNIA,
DISTRICT OF COLUMBIA,
STATE OF ILLINOIS,                                    DECLARATION OF SUSAN A.
STATE OF MARYLAND,                                    MUSSER IN SUPPORT OF
STATE OF NEVADA,                                      MEMORANUDM OF LAW IN
STATE OF NEW MEXICO,                                  SUPPORT OF PLAINTIFFS’
STATE OF OREGON, and                                  PRELIMINARY INJUNCTION
STATE OF WYOMING,                                     MOTION

Plaintiffs,

v.

THE KROGER COMPANY and
ALBERTSONS COMPANIES, INC.,

Defendants.

        I, Susan A. Musser, declare as follows:

        1.     I am Chief Trial Counsel for the Federal Trade Commission Bureau of

Competition. I am over the age of 18 and counsel of record for Plaintiff Federal Trade

Commission in the above-captioned action. I make this declaration based on personal

MUSSER DECLARATION
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knowledge. I make this declaration in support of the Memorandum of Law in Support of

Plaintiffs’ Preliminary Injunction Motion.

       2.      Attached to this Declaration as Exhibits DX0952 through PX12686 are true and

correct copies of the documents listed in the following table:

 DX0952         PX1420          PX3077         PX4044            PX4113    PX7004
 DX2304         PX1573          PX3106         PX4045            PX4114    PX7006
 DX2493         PX1641          PX3112         PX4046            PX4116    PX7008
 DX2494         PX1654          PX3115         PX4050            PX4120    PX7010
 DX2495         PX1654B         PX3128         PX4054            PX4126    PX7011
 DX2497         PX2148          PX3406         PX4055            PX4135    PX10007
 PX1040         PX2151          PX3421         PX4056            PX4136    PX11252
 PX1109         PX2157          PX3602         PX4058            PX4138    PX11257
 PX1110         PX2252          PX3775         PX4059            PX4140    PX11276
 PX1115         PX2257          PX3776         PX4060            PX4141    PX12029
 PX1123         PX2315          PX3948         PX4062            PX4143    PX12380
 PX1125         PX2322          PX3956         PX4063            PX4144    PX12392
 PX1130         PX2412          PX4010         PX4065            PX4149    PX12450
 PX1154         PX2419          PX4011         PX4069            PX5003    PX12673
 PX1164         PX2423          PX4014         PX4071            PX5006    PX12686
 PX1180         PX2434          PX4015         PX4072            PX5009
 PX1232         PX2441          PX4016         PX4074            PX5010
 PX1240         PX2446          PX4017         PX4075            PX5011
 PX1244         PX2464          PX4018         PX4080            PX5012
 PX1247         PX2478          PX4021         PX4081            PX5014
 PX1249         PX2480          PX4022         PX4083            PX5016
 PX1272         PX2484          PX4024         PX4084            PX5019
 PX1274         PX2490          PX4025         PX4088            PX6001
 PX1281         PX2492          PX4026         PX4089            PX6002
 PX1282         PX2505          PX4027         PX4090            PX6004
 PX1286         PX2545          PX4028         PX4091            PX6009
 PX1291         PX2613          PX4029         PX4095            PX6010
 PX1292         PX2614          PX4030         PX4096            PX6030
 PX1303         PX2615          PX4031         PX4097            PX6084
 PX1308         PX2616          PX4032         PX4101            PX6153
 PX1310         PX2670          PX4034         PX4104            PX6166
 PX1358         PX2777          PX4035         PX4107            PX6253
 PX1361         PX2783          PX4039         PX4109            PX6287
 PX1368         PX2932          PX4040         PX4110            PX6680
 PX1372         PX3068          PX4042         PX4111            PX6681
 PX1381         PX3069          PX4043         PX4112            PX7002

MUSSER DECLARATION
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I declare under penalty of perjury that the foregoing is true and correct.

       Executed on July 26, 2024, in Portland, OR.


                                            /s/ Susan A. Musser
                                            Susan A. Musser, DC Bar # 1531486

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MUSSER DECLARATION
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